
Upon consideration of the notice of appeal from the North Carolina Business Court, filed by the Petitioner on the 6th of November 2017, *698"Dismissed Ex Mero Motu by order of the Court in conference, this the 7th of November 2017."
Upon consideration of the petition filed by Petitioner on the 6th of November 2017 for Writ of Supersedeas of the judgment of the Business Court (Wake County), the following order was entered and is hereby certified to the Business Court (Wake County):
"Denied by order of the Court in conference, this the 7th of November 2017."
Upon consideration of the petition filed by Petitioner on the 6th of November 2017 in this matter for a writ of certiorari to review the order of the North Carolina Business Court, the following order was entered and is hereby certified to the North Carolina Business Court:
"Denied by order of the Court in conference, this the 7th of November 2017."
